






						NO. 12-08-00332-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


CARLOS ECEDRO JONES,§
		APPEAL FROM THE 7TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Carlos Ecedro Jones appeals his conviction for theft by check.  After pleading guilty pursuant
to a plea bargain, Appellant was placed on two years of deferred adjudication probation and ordered
to pay restitution in the amount of $2,414.69.  Appellant later pleaded true to the allegations in the
State's application to proceed to adjudication.  The trial court granted the State's application and
assessed punishment at ten months of confinement in a state jail facility and a $500.00 fine.  The trial
court also ordered Appellant to pay $2,302.69 in restitution.  Appellant's counsel filed a brief in
compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967) and
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  We dismiss Appellant's appeal.


Analysis Pursuant to Anders v. California

	Appellant's counsel filed a brief in compliance with Anders and Gainous, stating that he has
diligently reviewed the appellate record and is of the opinion that the record reflects no reversible
error and that there is no error upon which an appeal can be predicated.  He further relates that he
is well acquainted with the facts in this case.  In compliance with Anders, Gainous, and High v.
State, 573 S.W.2d 807 (Tex. Crim. App. 1978), Appellant's brief presents a chronological
summation of the procedural history of the case, and further states that Appellant's counsel is unable
to raise any arguable issues for appeal. (1)  We have reviewed the record for reversible error and have
found none.  See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).


Conclusion

	As required, Appellant's counsel has moved for leave to withdraw.  See In re Schulman, 252
S.W.3d 403, 407 (Tex. Crim. App. 2008) (orig. proceeding); Stafford v. State, 813 S.W.2d 503, 511
(Tex. Crim. App. 1991).  We are in agreement with Appellant's counsel that this appeal is wholly
frivolous.  Accordingly, his motion to withdraw is hereby granted, and we dismiss this appeal.  See
In re Schulman, 252 S.W.3d at 408-09.

	Counsel has a duty to, within five (5) days of the date of this opinion, send a copy of the
opinion and judgment to Appellant and advise him of his right to file a petition for discretionary
review.  See Tex. R. App. P. 48.4; In re Schulman, 252 S.W.3d at 411 n.35.  Should Appellant wish
to seek further review of this case by the Texas Court of Criminal Appeals, he must either retain an
attorney to file a petition for discretionary review or he must file a pro se petition for discretionary
review.  Any petition for discretionary review must be filed within thirty days from the date of this
opinion or the date the last timely motion for rehearing is overruled by this court.  See Tex. R. App.
P. 68.2.  Any petition for discretionary review must be filed with this court, after which it will be
forwarded to the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See
Tex. R. App. P. 68.3.  Any petition for discretionary review should comply with the requirements
of Rule 68.4 of the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4; In re Schulman,
252 S.W.3d at 408 n.22.

Opinion delivered September 2, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.


(DO NOT PUBLISH)
1.  Counsel for Appellant certified that he provided Appellant with a copy of this brief and that Appellant was
advised of his right to file his own brief in this cause.  The time for filing such a brief has expired and we have
received no pro se brief.


